
230 Ind. 309 (1952)
103 N.E.2d 203
GARY RAILWAYS, INC.
v.
CHUMCOFF.
Appellate Court No. 18,006.
Supreme Court of Indiana.
Transfer denied January 30, 1952.
*310 Draper &amp; Eichhorn, of Gary, and George Sammons, of Kentland, for appellant.
Strom and Spangler, of Gary, for appellee.
BOBBITT, J.
This action is before us on petition to transfer from the Appellate Court under § 4-215, Burns' 1946 Replacement; Acts of 1933, ch. 151, § 1, p. 800, and was argued before this court by counsel for both appellant and appellee.
After due consideration Jasper and Bobbitt, JJ., reached the conclusion that the Appellate Court had correctly decided the issues presented and that the transfer should be denied. Gilkison, C.J., and Emmert, J., are of the opinion that the petition to transfer should be granted. Draper, J., did not participate because of his close relationship to one of the attorneys appearing for appellant.
Therefore, a majority of those judges participating not being in favor of the petition to transfer, it is denied.
Transfer denied.
Draper, J., not participating.
NOTE.  Reported in 103 N.E.2d 203.
